Case 1:20-cv-21336-AHS Document 1 Entered on FLSD Docket 03/27/2020 Page 1 of 7



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                               CASE NO.

 PHILMORE FRIEDMAN,

         Plaintiff,

 v.

 CRYSTAL CRUISES LLC
 d/b/a CRYSTAL CRUISES,

         Defendant.
                                             /

                           COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff hereby sues Defendant and alleges as follows:

                  JURISDICTIONAL AND PRELIMINARY ALLEGATIONS

      1. Plaintiff, PHILMORE FRIEDMAN is a citizen of New York.

      2. Defendant, CRYSTAL CRUISES LLC d/b/a CRYSTAL CRUISES (“CRYSTAL”)., is a

 foreign corporation registered to business in Miami, Florida.

      3. The Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. § 1332

 because the Parties are completely diverse and the matter in controversy exceeds, exclusive of

 interest and costs, the sum specified by 28 U.S.C. § 1332. In the alternative, if diversity jurisdiction

 does not apply, then this matter falls under the Court’s admiralty jurisdiction.

      4. This Court has personal jurisdiction over Defendant because, at all times material hereto,

 Defendant personally or through an agent:

         a. Operated, conducted, engaged in or carried on a business venture in this State and/or
            county or had an office or agency in this State and/or county;

         b. Was engaged in substantial activity within this State;


                                                     -1-
           L I P C O N ,    M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
Case 1:20-cv-21336-AHS Document 1 Entered on FLSD Docket 03/27/2020 Page 2 of 7



           c. Operated vessels in the waters of this State;

           d. Committed one or more of the acts stated in Florida statute §§ 48.081, 48.181 and/or
              48.193;

           e. Defendant’s acts as set forth in this Complaint occurred in whole or in part in this
              county and/or State;

           f. Defendant was engaged in the business of providing to the public and to Plaintiff in
              particular, for compensation, vacation cruises aboard its vessels; and/or

           g. The subject cruise started and ended in Miami.

    5. This action is being pursed in this Court, as opposed to state court as otherwise allowed by

 the Saving to Suitors Clause of 28 U.S.C. §1333 because CRYSTAL unilaterally inserts a forum

 clause into its cruise tickets that requires its passengers to file cruise-related suits only in this

 federal district and division, as opposed to any other place in the world.

    6. The causes of action asserted in this Complaint arise under the General Maritime Law of

 the United States. Notwithstanding the application of General Maritime Law and, pursuant to

 Federal Rule of Civil Procedure 38, Plaintiff hereby demand a jury trial on all claims asserted

 herein.

                                FACTS COMMON TO ALL COUNTS

    7. At all times material hereto, Defendant owned, operated, managed, maintained and/or

 controlled the subject vessel, the Serenity (the “vessel”).

    8. At all times material hereto, Defendant operated the vessel in navigable waters.

    9. At all times material, Plaintiff was a fare-paying passenger aboard the vessel.

                                             Subject Incident

    10. On or about December 22, 2019, Plaintiff boarded the vessel.

    11. On or about January 4, 2020, Plaintiff ordered room service for breakfast which included

 a pot of hot coffee. Unbeknownst to the Plaintiff, the lid on the pot of coffee was not properly


                                                     -2-
            L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
Case 1:20-cv-21336-AHS Document 1 Entered on FLSD Docket 03/27/2020 Page 3 of 7



 secured and the coffee was scalding hot.

    12. When the Plaintiff attempted to pour the coffee the lid came off and the scalding hot liquid

 spilled onto him causing severe second degree burns.

    13. As a result of the injury caused by the Defendant’s negligence, the Plaintiff sustained

 permanent injuries requiring medical treatment and is left with significant scarring.

                          COUNT I – NEGLIGENT FAILURE TO WARN

        Plaintiff realleges, incorporates by reference, and adopts his allegations set forth in

 paragraphs one (1) through thirteen (13) as though alleged originally herein, and further sates:

    14. At all times material hereto, it was the duty of Defendant to provide Plaintiff with

 reasonable care under the circumstances.

    15. At all times material hereto, it was the duty of Defendant to warn passengers (like Plaintiff)

 of dangers that were known, or reasonably should have been known.

    16. On or about the above date, Defendant and/or its agents, servants and/or employees

 breached their duty to provide Plaintiff with reasonable care under the circumstances and/or its

 duty to warn of known dangers through the following acts and/or omissions:

        a. Failing to warn of that the lid on the coffee pot was not properly secured;

        b. Failing to warn that temperature of the coffee was scalding hot so that it could cause
           second degree burns;

        c. Failing to adequately warn passengers, including the Plaintiff that the Defendant did
           not have adequate policies and procedures for the service of hot beverages;

        d. Failing to adequately warn passengers, including the Plaintiff that the Defendant did
           not properly train, instruct or supervise crewmembers in the service of hot beverages;

        e. Failing to adequately warn passengers, including the Plaintiff that the Defendant did
           not comply with industry standards as to the service of hot beverages;

        f. Failing to adequately warn passengers, including the Plaintiff that the Defendant did
           not analyze prior similar instances occurring aboard Defendant’s vessels fleet-wide so
           as to remedy the hazardous condition;

                                                   -3-
          L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
Case 1:20-cv-21336-AHS Document 1 Entered on FLSD Docket 03/27/2020 Page 4 of 7




         g. Failing to adequately warn passengers, including the Plaintiff that the Defendant did
            not to correct and/or remedy hazardous conditions following prior similar instances
            occurring aboard Defendant’s vessels fleet-wide;

         h. Failing to adequately warn passengers, including the Plaintiff that the Defendant did
            not promulgate and/or enforce adequate policies and procedures to ensure that
            passengers, like Plaintiff, were made aware of the dangers posed by the scalding hot
            beverage; and/or

         i. Other acts or omissions constituting a breach of the duty to warn which are revealed
            through discovery.

     17. The above acts and/or omissions caused, contributed and/or played a substantial part in

 bringing about Plaintiff’s injuries and damages.

     18. At all times material hereto, Defendant knew or should have known of the foregoing

 conditions causing the subject incident and did not correct them, or the conditions existed for a

 sufficient length of time so that Defendant, in the exercise of reasonable care under the

 circumstances, should have learned of them and corrected them. This knowledge was or should

 have been acquired based on the fact that the Defendant prepared and served the subject coffee

 and/or through prior similar incidents aboard Defendant’s vessels, and/or prior complaints, claims

 and/or lawsuits brought against Defendant involving similar allegations to those alleged here.

     19. As a direct and proximate result of Defendant’s negligence, Plaintiff was injured about his

 body and extremities, suffered physical pain, mental anguish, loss of enjoyment of life, disability,

 mental and/or nervous disorders, aggravation of any previously existing conditions therefrom,

 incurred medical expenses in the care and treatment of his injuries. Plaintiff’s injuries are

 permanent or continuing in nature and he will suffer the losses and impairments in the future. In

 addition, Plaintiff lost the benefit of his vacation, cruise, and transportation costs.

         WHEREFORE, Plaintiff demands judgment for all damages recoverable under the law

 and demands trial by jury.


                                                   -4-
          L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
Case 1:20-cv-21336-AHS Document 1 Entered on FLSD Docket 03/27/2020 Page 5 of 7



                             COUNT II – GENERAL NEGLIGENCE

        Plaintiff realleges, incorporates by reference, and adopts his allegations set forth in

 paragraphs one (1) through thirteen (13) as though alleged originally herein, and further sates:

    20. At all times material hereto, it was the duty of Defendant to provide Plaintiff with

 reasonable care under the circumstances.

    21. At all times material hereto, it was the duty of Defendant to warn passengers (like Plaintiff)

 of dangers that were known, or reasonably should have been known.

    22. On or about the above date, Defendant and/or its agents, servants and/or employees

 breached their duty to provide Plaintiff with reasonable care under the circumstances and/or its

 duty to warn of known dangers through the following acts and/or omissions:

        a. Failing to use reasonable care in the service of hot beverages;

        b. Failing to use reasonable care to ensure that the lid on the coffee pot was properly
           secured so as to prevent spillage and injury to passengers, including the Plaintiff;

        c. Failing to use reasonable care to ensure that hot beverages were served at a temperature
           which would not cause injury to passengers, including the Plaintiff;

        d. Failing to properly serve the hot beverages in a manner that would not cause injury to
           passengers, including the Plaintiff;

        e. Failing to have adequate policies and procedures in place for the service of hot
           beverages;

        f. Failing to properly train, instruct and supervise crewmembers in the service of hot
           beverages;

        g. Negligently creating a dangerous condition and/or failing to remedy a dangerous
           condition which was known by the Defendant and which in the exercise of reasonable
           care should have been known by the Defendant;

        h. Negligently failing to check the temperature of the hot beverage before serving it to
           passengers, including the Plaintiff;

        i. Failing to promulgate and enforce proper safety rules and measures for the service of
           hot beverages;


                                                   -5-
          L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
Case 1:20-cv-21336-AHS Document 1 Entered on FLSD Docket 03/27/2020 Page 6 of 7



        j. Negligently selecting and using coffee pots where lids couldn’t not be properly secured
           and/or created spilling hazards;

        k.   Failing to comply with industry standards in the service of hot beverages;

        l. Failing to place adequate markings, warnings or signage;

        m. Failing to provide adequate assistance to passengers in the service of hot beverages;

        n. Failing to analyze prior similar instances occurring aboard Defendant’s vessels fleet-
           wide so as to remedy the hazardous condition;

        o. Failing to correct and/or remedy hazardous conditions following prior similar instances
           occurring aboard Defendant’s vessels fleet-wide;
        p. Failing to promulgate and/or enforce adequate policies and procedures to ensure that
           passengers, like Plaintiff, were made aware of the dangers posed by the scalding hot
           beverages; and/or

        q. Other acts or omissions constituting breach of duty to exercise reasonable care which
           are revealed in discovery.

    23. The above acts and/or omissions caused, contributed and/or played a substantial part in

 bringing about Plaintiff’s injuries and damages.

    24. At all times material hereto, Defendant knew or should have known of the foregoing

 conditions causing the subject incident and did not correct them, or the conditions existed for a

 sufficient length of time so that Defendant, in the exercise of reasonable care under the

 circumstances, should have learned of them and corrected them. This knowledge was or should

 have been acquired based on the allegations set forth in paragraphs 11 and/or through prior similar

 incidents aboard Defendant’s vessels, and/or prior complaints, claims and/or lawsuits brought

 against Defendant involving similar allegations to those alleged here.

    25. As a direct and proximate result of Defendant’s negligence, Plaintiff was injured about his

 body and extremities, suffered physical pain, mental anguish, loss of enjoyment of life, disability,

 mental and/or nervous disorders, aggravation of any previously existing conditions therefrom,

 incurred medical expenses in the care and treatment of his injuries. Plaintiff’s injuries are


                                                   -6-
          L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
Case 1:20-cv-21336-AHS Document 1 Entered on FLSD Docket 03/27/2020 Page 7 of 7



 permanent or continuing in nature and he will suffer the losses and impairments in the future. In

 addition, Plaintiff lost the benefit of his vacation, cruise, and transportation costs.

     WHEREFORE, Plaintiff demands judgment for all damages recoverable under the law and

 demands trial by jury.

 Dated: March 27, 2020

                                                         Respectfully submitted,

                                                         LIPCON, MARGULIES,
                                                         ALSINA & WINKLEMAN, P.A.
                                                         Attorneys for Plaintiff
                                                         One Biscayne Tower, Suite 1776
                                                         2 S. Biscayne Boulevard
                                                         Miami, Florida 33131
                                                         Telephone: (305) 373-3016
                                                         Facsimile: (305) 373-6204

                                                    By: /s/ Carol L. Finklehoffe
                                                        MICHAEL A. WINKLEMAN
                                                        Florida Bar No. 36719
                                                        mwinkleman@lipcon.com
                                                        CAROL L. FINKLEHOFFE
                                                        Florida Bar No. 0015903
                                                        cfinklehoffe@lipcon.com




                                                   -7-
          L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
